   Case:20-00015-ESL Doc#:10 Filed:05/30/20 Entered:05/30/20 11:15:21                       Desc: Main
                             Document Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO

In re:

JUAN EMILIO ROMAN GARCIA                                Case No. 18-07534
                                                        Chapter


Debtor
JUAN EMILIO ROMAN GARCIA                                Adv. P. No. 20-00015

Plaintiff                                               WILLFUL VIOLATIONS OF THE
                                                        AUTOMATIC STAY; ACTUAL AND
                         v.                             PUNITIVE DAMAGES

THE LAW OFFICES OF RICHARD B.
ROSENBLATT, PC

Defendants

      ANSWER TO ORDER TO SHOW CAUSE AND MOTION FOR VOLUNTARY
  DISIMISSAL OF THE CAPTIONED ADVERSARY PROCEEDING WITH PREJUDICE

TO THIS HONORABLE COURT:

         COMES NOW, Plaintiff, Juan Emilio Roman Garcia, represented by the undersigned attorney

and in support of this Motion very respectfully STATES, ALLEGES, and PRAYS as follows:

         1.    On January 30, 2020, the Plaintiff filed the instant adversary proceeding against Defendant,

for the willful violation of the automatic stay.

         2.    To the present day, the Defendant has not filed an appearance nor has Defendant filed an

Answer. No responsive pleadings have been filed by Defendant.

         3.    On May 22, 2020 this Honorable Court entered and Order for the Debtor To Show Cause

as to why the instant case should not be dismissed for failure to prosecute. See, Dk. #8.

         4.    After due consideration, the Plaintiff has agreed to dismiss the instant case, with prejudice.
   Case:20-00015-ESL Doc#:10 Filed:05/30/20 Entered:05/30/20 11:15:21                         Desc: Main
                             Document Page 2 of 2




       WHEREFORE, the Plaintiff respectfully moves this Honorable Court to dismiss with

prejudice the captioned Adversary Proceeding.

                              NOTICE TO ALL PARTIES IN INTEREST

        Within twenty-one (21) days after service as evidenced by the certification, and an additional three
(3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom this
paper has been served, or any other party to the action who objects to the relief sought herein, shall serve
and file an objection or other appropriate response to this paper with the Clerk’s office of the U.S.
Bankruptcy Court for the District of Puerto Rico. If no objection or other response is filed within the time
allowed herein, the paper will be deemed unopposed and may be granted unless: (i) the requested relief is
forbidden by law; (ii) the requested relief is against public policy; or (iii) in the opinion of the Court, the
interest of justice requires otherwise. If no response is filed within the prescribed period of time the Court
may enter an order granting the relief herein requested.

        WE HEREBY CERTIFY that on this same date we electronically filed the foregoing with
the Clerk of the Court using the CM/ECF System which will send notification of such filing to the
participants appearing in said record.

       RESPECTFULLY SUBMITTED.
       In San Juan, Puerto Rico, this 30th day of May 2020.


                                                          THE BATISTA LAW GROUP, PSC.
                                                          P.O. Box 191059
                                                          San Juan, PR. 00919
                                                          Telephone: (787) 620-2856
                                                          Facsimile: (787) 777-1589
                                                          Counsel for Plaintiff

                                                          /s/ William Rivera Vélez
                                                          William Rivera Vélez
                                                          USDC No. 229408
                                                          E-mail: wrv@batistasanchez.com
